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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


                                      )
ARTHUR M. LOVE,                       )
                                      )
        Plaintiff,                    )
                                      )
                V,                    )      Case   No. l:21-cv-2029 (RDB)
                                      )      Judge Richard D. Bennett
LARRY HOGAN, et al.,                  )
                                      )
        Defendants.                   )
                                      )



                       MOTION TO WITHDRAW APPEARANCE
                 AS LOCAL COUNSEL OF RECORD FOR ARTHUR LOVE

       Pursuant to Local Rules 101.2.(a) and704 and Maryland Rule of Professional Conduct

1.16, the Law Offices of Jeffrey E. McFadden,   LLC ("McFaddenlaw")          seeks leave of the Court

to withdraw its appearance as local counsel of record for Plaintiff Arthur M. Love. Leave should

be granted because 1) Mr. Love and his primary counsel, John M. Pierce, Esq. of the

PierceBainbridge law firm "fail[ed] substantially to   fulfill   an obligation" to McFaddenlaw by

Mr. Pierce's failure to find and substitute in new local counsel following McFaddenlaw's notice

to Mr. Pierce that McFadden could not continue in the representation given its concerns

regarding Mr. Pierce's motion for admissionpro hac vice and2) for other good cause. See

Maryland Rule of Professional Conduct 1 .16(bX5) and (7). McFaddenlaw also files the

attached Local Rule I 01.2.(a) Certification stating that McFaddenlaw complied with all the

requirements necessary for it to seek a withdrawal in compliance with its professional

obligations (Exhibit 1).
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                                        STATEMENT OF FACTS'

         On or about August 9,2021, PierceBainbridge approached undersigned counsel Jeffrey

E. McFadden, the sole owner of McFaddenlaw, on the basis of a referral from a Baltimore law

firm, to serve as Pierce Bainbridge's local counsel in this Court in connection with

PierceBainbridge's engagement by Plaintiff Arthur Love in litigation against the State of

Maryland and other State officials. On August 10,2021, PierceBainbridge associate Ryan

Marshall provided Mr. McFadden with proposed Summonses and a Complaint, which Messrs.

Pierce and Marshall asked that McFaddenlaw              file on behalf of Mr. Love. Messrs. Pierce and

Marshall also asked that McFaddenlaw move Mr. Pierce's admission to appear pro hac vice in

the case. Mr. Marshall informed Mr. McFadden that McFaddenlaw should direct its

engagement letter to PierceBainbridge through Mr. Pierce and that Mr. Pierce would obtain

necessary concurences from Mr. Love for McFaddenlaw's work as PierceBainbridge's local

counsel.

         Based on these representations, McFaddenlaw filed the Summonses and Complaint and

commenced the instant action on August           l\,2021. Also,      on August 11,2021, Mr. McFadden

sent Messrs. Pierce and Marshall a form of motion for admissi on             pro hac vice that would      be

acceptable for use in this Cour1. On August 18,2027, Mr. Marshall returned that motion to Mr.

McFadden for filing.

         The Pro Hac Vice Motion requires Mr. McFadden and McFaddenlaw to represent to the

Court that Mr. Pierce had "never been disbarred, suspended, or denied admission to practice law

in any jurisdiction." To verify that representation, Mr. McFadden underlook necessary due

diligence.


I The following facts are
                          supported by the Declaration of Jeffrey E. McFadden with accornpanying exhibits, all   of
which are attached as Exhibit 2 to this Motion.
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          While that due diligence did not find records of disbarment, suspension, or denial of

admission, surprisingly, it did find a series of reports regarding Messrs. Pierce and Marshall and

PierceBainbridge. Some of these reports appeared to be scurrilous attacks by litigation

adversaries designed to injure Messrs. Pierce's and Marshall's and PierceBainbridge's

reputation. Several reports also indicated that Mr. Marshall had two counts of fraud pending

against him in the State of Pennsylvania. Other reports attacked Mr. Pierce and his law                     firm's

character such that the attacks ultimately appeared to lead to Mr. Pierce's and PierceBainbridge's

withdrawal of motions for admission pro hac vice in two cases. This information put McFadden

law on inquiry notice that it needed more information to be able to make a complete

representation to the court.2

         By e-mail dated August 24,2021, Mr. McFadden advised Mr. Pierce of the results of the

due diligence and expressed concern that these and similar allegations would come to light in the

course of moving for Mr. Pierce's admissionpro hac vice inthe instant                   litigation. Mr.

McFadden thus asked Mr. Pierce for a detailed, written rebuttal of the allegations so that Mr.

McFadden would be in a position to respond to similar allegations should they arise in the instant

matter. Mr. McFadden stated that, if he were to proceed with moving Mr. Pierce's admission

pro hac vice, Mr. McFadden needed to be able to demonstrate to the Court that Mr. McFadden

had identified these issues and had assembled an appropriate, truthful, and convincing response.

Mr. McFadden ended the communication by stating to Mr. Pierce that if he were unable to do so,

Mr. Pierce should look to other local counsel.




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  In the interests of Plaintiff, Mr. McFadden seeks to strike the proper balance between infonnation sufficient to
inform the Coutl's decision and information that would cause unnecessary embarrassment to Plaintiff and his
primary counsel. In this regard, we would respectfully call the Court's attention to an article recently appearing in
the ABA Journal. The article can be found at
https ://www. abaj ournal. com/magazinelarticle/eth   ics leave to withdraw.
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        On August 30,2021, Mr. McFadden forwarded to Mr. Marshall his e-mail to Mr. Pierce

dated August24,2021.

        On September 3, 2021, Mr. McFadden sent a letter by electronic and certified mail to

Messrs. Pierce and Marshall stating that Mr. McFadden had still received no response to his

inquiry to Mr. Pierce dated August 24,2021, and that the requested response was becoming all

the more pressing giving continued negative press reports concerning Messrs. Pierce and

Marshall. The letter concluded by stating that if Mr. McFadden did not receive     a response by

September 7,2021, he would have to advise Plaintiff Love of the situation and possibly advise

this Court as well.

       Later on September 7,2021, Mr. Pierce sent Mr. McFadden an e-mail briefly describing

the circumstances surrounding the withdrawal of the pro hac vice motions in two other cases.

       On September 20,2021, Mr. McFadden sent Messrs. Pierce and Marshall a letter by

electronic and certified mail. The letter stated that Mr. McFadden had reviewed Mr. Pierce's e-

mail response to Mr. McFadden's letter of September 3 and had continued to follow press reports

regarding Mr. Pierce's recovery from an illness and issues that were continuing to linger as to a

number of Mr. Pierce's cases. The letter went on to state that the continuing controversy

surrounding the status of Mr. Pierce's firm and its lawyers had caused Mr. McFadden to

conclude that he could not or should not make the required representations to the Court

necessary to proceed with Mr. Pierce'spro hac vice motion specifically and the instant case

generally. The letter thus advised that McFaddenlaw was withdrawing as local counsel in the

instant matter and, for the benefit of Plaintiff, asked that Mr. Pierce find and substitute in new

local counsel. The letter concluded by stating that should Mr. Pierce and PierceBainbridge be

unable to substitute in new local counsel, McFaddenlaw would move this Court to withdraw.




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        On September23,2021, Mr. McFadden sent an e-mail to Messrs. Pierce and Marshallto

follow up on Mr. McFadden's letter of   Septemb er 20, 2021   .   The e-mail noted that Mr.

McFadden had received two voice messages from PlaintiffLove, that it was apparent to Mr.

McFadden that Messrs. Pierce and Marshall had not advised Plaintiff Love of McFadden Law's

intent to withdraw, and that they needed to do so. The e-mail also advised Messrs. Pierce and

Marshall of the 120-day requirement for service of process and that such service had not yet been

effected.

       Later that same day, Mr. Pierce responded by e-mail to Mr. McFadden, copy to Mr.

Marshall, stating that Mr. Marshall should advise Plaintiff Love of the withdrawal and further

stating that Mr. Pierce would work on finding new local counsel.

       On October 24,2021, Mr. McFadden sent an e-mail to Messrs. Pierce and Marshall to

follow up on the status of advising Plaintiff Love of McFaddenlaw's intended withdrawal and of

finding new local counsel. Neither Mr. Pierce nor Mr. Marshall responded.

       On November 17,2021, and in accordance with Local Rule 101 .2.(a), Mr. McFadden

sent, by electronic and cerlified mail, a Notice of Withdrawal to Plaintiff Love and Messrs.

Pierce and Marshall.

       Given the approaching deadline for service of the summonses and Complaint, in order to

avoid any prejudice to Plaintiff Arthur Love, Mr. McFadden caused the Summonses and

Complaint to be served on Defendants as required by the Federal and Maryland Rules of Civil

Procedure.

                            RATIONALE FOR WITHDRAWAL

       Under Local Rule 704, "[t]his Court shall apply the Rules of Professional Conduct as

they have been adopted by the Maryland Court of Appeals." Maryland Rule of Professional




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Conduct 1.16(bX5) states that,"a lawyer may withdraw from representing a client if the client

fails substantially to fulfill an obligation to the lawyer regarding the lawyer's services and has

been given reasonable warning that the lawyer         will withdraw   unless the obligation is   fulfilled."

Maryland Rule of Professional Conduct I .16(b)(7) states thal a lawyer may withdraw              "if   other

good cause for withdrawal exists."

            As set forth in the Statement of Facts, it was PierceBainbridge and Mr. Pierce that

intended to retain McFaddenlaw as local counsel. PierceBainbridge and Mr. Pierce have

"fail[ed] substantially to fulfill an obligation" to McFaddenlaw because Mr. Pierce and

PierceBainbridge have failed to respond adequately to multiple requests that they provide in

writing the facts necessary to permit McFaddenlaw to make the representations necessary to

support the requested pro hac vice admission. Mr. McFadden and McFaddenlaw have

repeatedly made clear to Mr. Pierce and PierceBainbridge since September 20, 2021 thatthey

would not be able to go forward with moving Mr. Pierce's admissiofi pro hac vice and were thus

withdrawing from the case. McFadden Law has an obligation to the Court and the bar to make

and   fully support   rts   pro hac vice motion, and presently, that is not possible. Mr. Love should

not be prejudiced by his counsel's inaction in providing reasonable support for local counsel's

pro hac vice molion PierceBainbridge and Mr. Pierce have had more than two months to find

and substitute in new local counsel and have failed to do so. The foregoing reasons also

establish that good cause exists for the withdrawal.

         Under Local Rule I 01.2(a), counsel can withdraw upon filing a certificate stating, "(a)

the name and last known address of the client, and (b) lhat a written notice has been mailed to or

otherwise served upon the client at least seven (7) days previously advising the client of

counsel's proposed withdrawal and notifying the client either to have new counsel enter an




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appearance or to advise the Clerk that the client   will   be proceeding without counsel."

McFaddenlaw served Plaintiff Love and Messrs. Pierce and Marshall with the written notice

more than seven days prior to filing this motion, stating that McFaddenlaw would move to

withdraw its appearance if PierceBainbridge and Mr. Pierce did not substitute in new local

counsel. In the intervening time period, no new local counsel has been identified or substituted

in.

       For the foregoing reasons, for other good cause shown, McFaddenlaw respectfully

requests the Court to enter an order allowing it to withdraw fi'om its relationship with

PierceBainbridge and its representation of Plaintiff Love in this case.

       A proposed order is attached.



Dated: December 1,2021


                                              E. McFadden
                                       (Drdd. Bar No. 08738)
                                       LAW OFFICES OF'JEFFREY             E.   MCFADDEN, LLC
                                       312 Prospect Bay Drive East
                                       Grasonville, MD 21638
                                       (4r0) 4e0-1r63

                                       Counsel Jbr   Plaintil/'
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                                 CBRTIFICATE OF SERVICE

       I hereby certify that on December 1,2027, I caused a copy of this Motion to

Withdraw As Local Counsel to Plaintiff Arthur M. Love to be served on the following by

electronic and overnight mail:

      Arthur M. Love
      2064 Lake Grove Lane
      Crofton, MD 21114 and

      John M. Pierce, Esq.
      Ryan J. Marshall, Esq.
      PierceBainbridge, P.C.
      355 S. Grand Avenue, 44tl'Floor
      Los Angeles,   CA   90071.




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